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               UNITED STATES DISTRICT COURT
                                        for the
                              Eastern District of Louisiana




                                           )
HIRAN RODRIGUEZ
_____________________________________ )          CIVIL ACTION NO. 2:25-CV-00197
               Plaintiff(s)                      SECTION: “A” (2)
                                                 DISTRICT JUDGE: JAY C. ZAINEY
                   v.                      )     MAG. JUDGE: DONNA PHILLIPS CURRAULT



                                           )
META PLATFORMS, INC., ET AL,
_________________________________________ )
              Defendant(s)


                                           )


EMERGENCY MOTION FOR SANCTIONS, DISQUALIFICATION OF COUNSEL,

AND JUDICIAL INTERVENTION DUE TO ONGOING HARASSMENT BY

DEFENDANTS KANSAS CITY SOUTHERN RAILWAY COMPANY, LCMC

HEALTHCARE PARTNERS, LLC, AND JEFFERSON PARISH SHERIFF’S OFFICE
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NOW INTO COURT comes Plaintiff, Hiran Rodriguez, sui juris, and respectfully moves this

Honorable Court, pursuant to its inherent supervisory authority, Rule 11 of the Federal Rules

of Civil Procedure, and the U.S. Constitution, for emergency relief in the form of:


• Sanctions,


• Disqualification of Counsel, and


• Immediate Protective Order


against the Defendants Kansas City Southern Railway Company (KCS), LCMC Healthcare

Partners, LLC (LCMC), and the Jefferson Parish Sheriff’s Office (JPSO) for ongoing

harassment, obstruction, surveillance, and abuse tied to this litigation.




I. COORDINATED PATTERN OF HARASSMENT AND RETALIATION




Plaintiff has experienced continuous and targeted harassment, including:


• Weaponized train horn blasts by KCS,


• Ambulance sirens and drive-bys by LCMC vehicles,


• JPSO’s inaction and enabling of these tactics despite being named as a Defendant.




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The timing and repetition of these events are not random. They directly align with Plaintiff’s

legal filings and activity, evidencing a deliberate campaign of intimidation.




II. FAILURE OF COUNSEL TO INTERVENE OR ACKNOWLEDGE MISCONDUCT




Despite repeated evidence and formal notice, the following attorneys have refused to respond,

acknowledge, or intervene:


• Eve B. Masinter and Philip J. Giorlando (KCS)


• Hailey Grace Cummiskey and Roland M. Vandenweghe, Jr. (LCMC)


• Blake J. Arcuri and Laura C. Rodrigue (JPSO / Lopinto)




These attorneys also ignored informal discovery requests sent March 20–22, 2025, seeking

records and evidence relevant to this harassment. Their silence is not neutrality—it is

procedural stonewalling and ethical dereliction.




III. PLAINTIFF’S EVIDENCE AND DIGITAL SUBMISSIONS




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Plaintiff has compiled and shared a secure OneDrive folder with all twenty counsel of record

titled:


“Ongoing Evidence of Noise Harassment & Surveillance – March 2025“




This folder includes:


• Time-stamped video and audio recordings,


• Surveillance patterns aligned with court filings and private actions


This evidence was shared with all twenty defense attorneys on March 24, 2025. Not one

confirmed receipt or responded, further reinforcing bad faith litigation behavior.




IV. VIOLATIONS OF LAW AND PLAINTIFF’S RIGHTS




The conduct described violates:


• Rule 11(b)(1) – improper purpose and harassment


• 18 U.S.C. § 1512 – obstruction and intimidation


• 18 U.S.C. § 241 – conspiracy against civil rights




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• First, Fourth, Fifth, and Fourteenth Amendments




V. RELIEF REQUESTED




Plaintiff respectfully requests that this Court:


1. Disqualify the named attorneys from representing KCS, LCMC, and JPSO in this matter;


2. Impose monetary and procedural sanctions;


3. Order an immediate cease and desist of noise, surveillance, and proximity-based

harassment;


4. Compel preservation and production of logs, dispatch records, and employee assignments;


5. Accept Plaintiff’s digital evidence for in-camera or sealed review;


6. Grant any further relief the Court deems just and necessary to protect Plaintiff and the

integrity of this proceeding.




Respectfully submitted,




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/s/ Hiran Rodriguez




Hiran Rodriguez, sui juris


Pro Se Plaintiff


820 Grove Ave


Metairie, LA 70003


(504) 203-8459


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Dated: March 30, 2025




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DECLARATION OF HIRAN RODRIGUEZ IN SUPPORT OF EMERGENCY MOTION




Pursuant to 28 U.S.C. § 1746, I, Hiran Rodriguez, declare as follows:


1. I am the Plaintiff in this action and submit this declaration in support of my Emergency

Motion for Sanctions and Disqualification.


2. Since the filing of this lawsuit, I have endured continuous and targeted harassment involving:


• Repeated horn blasts by Kansas City Southern Railway trains near my home,


• Ambulance pass-bys and siren use by LCMC Healthcare Partners vehicles,


• Intimidation, inaction, and surveillance enabled or ignored by the Jefferson Parish Sheriff’s

Office.


3. These events are documented in a OneDrive folder titled:


“Ongoing Evidence of Noise Harassment and Surveillance – March 2025”


which was shared with all twenty counsel of record on March 24, 2025.


4. I submitted informal discovery requests on March 20–22, 2025, asking Defendants to

preserve and produce employee names, schedules, internal communications, logs, and

surveillance-related data.




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5. I have suffered sleep deprivation, distress, and physical and psychological harm as a result of

this retaliation.


6. The defense attorneys for each Defendant named in the motion have failed to take any ethical,

legal, or corrective action.




I declare under penalty of perjury that the foregoing is true and correct.


Executed on March 30, 2025 in Metairie, Louisiana.




/s/ Hiran Rodriguez




Hiran Rodriguez, sui juris


Pro Se Plaintiff




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[PROPOSED] ORDER




CONSIDERING Plaintiff’s Emergency Motion for Sanctions, Disqualification of Counsel, and

Judicial Intervention:




IT IS ORDERED that:


1. Attorneys Eve B. Masinter, Philip J. Giorlando, Hailey Grace Cummiskey, Roland M.

Vandenweghe Jr., Blake J. Arcuri, and Laura C. Rodrigue are disqualified from further

representation of Kansas City Southern Railway Company, LCMC Healthcare Partners, LLC,

and Jefferson Parish Sheriff’s Office.


2. Defendants are enjoined from engaging in further surveillance, horn blasts, siren-based

intimidation, or interference with Plaintiff.


3. All relevant evidence, including digital communications, dispatch logs, and employee

schedules, shall be preserved and produced within 10 days.


4. Plaintiff’s OneDrive folder titled “Ongoing Evidence of Noise Harassment and Surveillance –

March 2025” is accepted into the record and available for in-camera review upon request.




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New Orleans, Louisiana, this ___ day of __________, 2025.


                         _____________________________________


               UNITED STATES DISTRICT JUDGE / MAGISTRATE JUDGE


Subject to Plaintiff’s continuing objection to the participation of Judge Jay C. Zainey (Rec. Doc.

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                                CERTIFICATE OF SERVICE




I, Hiran Rodriguez, sui juris, certify that on March 30, 2025, I submitted:


• Emergency Motion for Sanctions and Disqualification


• Declaration in Support of Emergency Motion


• [Proposed] Order


• Reference to Plaintiff’s OneDrive evidence folder


• This Certificate of Service


via the Electronic Document Submission System (EDSS) of the U.S. District Court for the

Eastern District of Louisiana. Notice will be electronically served on all counsel of record

through CM/ECF. Service upon parties not yet appearing is ongoing via the U.S. Marshal

Service.




/s/ Hiran Rodriguez




Hiran Rodriguez, sui juris


Pro Se Plaintiff


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Dated: March 30, 2025


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820 Grove Ave


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Stacy Pecoraro

From:                           Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                           Sunday, March 30, 2025 8:56 AM
To:          I   -              LAEDmLProSe
Subject:                        New EDSS Filing Submitted
Attacfiments:                   Emergency Motion for Sanctions and Disqualification.pdf




Greetings Pro Se Desk,

A hew EDSS filing has been submitted through the portal. The filing was submitted on Sunday, March 30, 2025
- 08:55.


The information for this submission is:


Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-CV-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Emergency Motion for Sanctions and Disqualification




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